[EDITORS' NOTE:  THIS PAGE CONTAINS HEADNOTES. HEADNOTES ARE NOT AN OFFICIAL PRODUCT OF THE COURT, THEREFORE THEY ARE NOT DISPLAYED.] *Page 332 
On the 4th of November, 1905, William Roberts died, leaving him surviving his widow, Sarepta, two sons, George and Charles, and certain grandchildren. He left a will in which the two sons were *Page 333 
named as executors. It was admitted to probate and letters testamentary issued to them. After certain specific bequests to the grandchildren and the two sons, the will provided: "3. All the rest, residue and remainder of my estate, real and personal, I give, devise and bequeath to my wife and two sons in the shares and proportions and in the manner now provided by laws of the State of New York for the distribution of estates of intestates, said share of my wife to be accepted and received by her in lieu of dower and thirds in my estate.
"4. I direct and authorize my executors hereinafter named to convey any land contracted by me and also to sell and convey any land owned by me at the time of my death in case both of my said sons and my said wife shall agree to such sale. Likewise I appoint my said sons George and Charles executors."
On the 16th of October, 1913, the defendant recovered a judgment for $2,309.26 in the Supreme Court against the two sons, which was docketed on the same day in the clerk's office in the county of Jefferson. On the 6th of January, 1914, the two sons, as executors of the will of their father, and the widow of the testator conveyed to the plaintiff a parcel of land situate in Philadelphia, Jefferson county. The deed was recorded in the clerk's office of that county on the 12th of January following, and the plaintiff immediately went into and since has continued in possession of the premises conveyed. On the 16th of December, 1918, the defendant issued an execution upon the judgment which it had recovered against the two sons in 1913 to the sheriff of Jefferson county, and he levied upon and advertised for sale the real estate conveyed in 1914 to the plaintiff. The plaintiff thereafter brought this action to enjoin the sheriff from selling and also to have it adjudged that the defendant has no claim, right, title or interest in such real estate by virtue of the 1913 judgment. At the conclusion of the trial, all of the facts having been *Page 334 
stipulated, the learned trial justice decided that the plaintiff was not entitled to the relief demanded and dismissed the complaint upon the merits. Upon the decision judgment was entered, from which the plaintiff appealed to the Appellate Division. The judgment was there affirmed, one of the justices dissenting, and an appeal to this court followed.
The question presented by the appeal is whether the judgment procured by the defendant in 1913 against the two sons attached to and became a lien upon their interest in the real estate subsequently sold to the plaintiff.
What the testator intended to accomplish by his will was to give to his widow and two sons an equal, undivided interest, after payment of the specific legacies, in all the rest of his real and personal property. This intent, I think, is fairly to be inferred when the whole will is considered. He makes this bequest to them "in the shares and proportions and in the manner now provided by laws of the State of New York for the distribution of estates of intestates." If these words be literally interpreted, then the widow would take no interest in the real estate, but I cannot believe that was what the testator intended to accomplish. He provides that the gift to the widow, if accepted, is to be in lieu of dower and "thirds in my estate." What he evidently wanted to do was to make a provision for the widow equal to the provision made for each of the sons, not only in his personal, but in his real property. This construction of the will seems to me naturally to follow, and especially by reason of the fact that he provided that a sale of any of the real estate owned by him at the time of his death could be made by his executors only with the consent of the widow. There could have been no possible reason, at least so far as appears by the stipulated facts, if she took no interest in the real estate, to require her consent to a sale.
If this be the correct construction of the clauses of the will quoted, then it follows that at the time of the death *Page 335 
of the testator the widow and the two sons each took an undivided one-third vested interest in the real estate. When the bank recovered its judgment the same became a lien upon the title to an undivided two-thirds of the real estate which had vested in the sons. The interest of the sons, however, was subject to be divested by the execution of the power of sale given to the executors, with the consent of the widow. (Cussack v. Tweedy,126 N.Y. 81.) Upon the execution of the power the lien of the judgment upon the real estate was extinguished. A sale, therefore, made under an execution issued upon the judgment would convey no title whatever to the land sold. This conclusion is sustained by decisions of this court. (Comrie v. Kleman,162 App. Div. 510; affd., 222 N.Y. 558; Rankine v. Metzger,69 App. Div. 264; affd., 174 N.Y. 540; Sayles v. Best, 140 N.Y. 368;Ackerman v. Gorton, 67 N.Y. 63.) The contemplated sale, therefore, by the defendant under the execution issued upon its judgment, recovered against the two sons, would be a useless act.
The plaintiff, as the owner of the real estate, had the right, since the contemplated sale might cast a cloud upon its title, or possibly interfere with its peaceful possession of the land, to maintain this action.
The judgments of the Trial Term and Appellate Division, therefore, should be reversed and judgment for the relief demanded in the complaint in favor of the plaintiff granted, with costs in all courts.
HISCOCK, Ch. J., HOGAN, CARDOZO, POUND and CRANE, JJ., concur; ANDREWS, J., dissents.
Judgment accordingly. *Page 336 